                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

In re:    Robert Carl Hagen                                          Case No.: 17-40429
          Catherine Elaine Hagen                                     Honorable Thomas Tucker
                                                                     Chapter 7


         ORDER ON DEBTORS’ APPLICATION TO PAY THE CHAPTER 7 FILING FEE IN
                                 INSTALLMENTS

Upon consideration of the Debtors’ Application to Pay the Chapter 7 Filing Fee In Installments the court
orders that the application be:


____ Granted
       The Debtors shall pay the Chapter 7 filing fee according to the following terms:

          $100.00     on or before 2/14/17
          $100.00     on or before 3/1/17
          $135.00     on or before 3/15/17.

          Until the filing fee is paid in full, the debtor shall not make ay additional payment or transfer any
          additional property to an attorney or any other person for services in connection with this case.

          IF THE DEBTOR FAILS TO TIMELY PAY THE FILING FEE IN FULL OR TO TIMELY
          MAKE INSTALLMENT PAYMENTS, THE COURT MAY DISMISS THE DEBTORS’
          CHAPTER 7 CASE.


                                                        .

Signed on January 17, 2017




    17-40429-tjt       Doc 14      Filed 01/17/17        Entered 01/17/17 14:59:52           Page 1 of 1
